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AFFIDAVIT OF SERVICE

UNITED STATES DISTRICT COURT
Western District of Texas

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Case Number: 6:23-CV-252/ADA-JOM )
~~ .

Plaintiff:
SBI CRYPTO CO., LTD.

VS.

Defendant:
WHINSTONE US, INC.

Received these papers on the 9th day of September, 2024 at 9:15 am to be served on LANCIUM, LLC by delivering to its
Registered Agent, REGISTERED AGENTS, INC., 5900 Balcones Drive, Suite 100, Austin, Travis County, TX 78731.

|, Vivian Smith, being duly sworn, depose and say that on the 9th day of September, 2024 at 10:40 am, I:

hand-delivered a true copy of this Plaintiff's Notice of Intent to Service Subpoena Duces Tecum on NonParty Lancium,
LLC with Exhibit "1", to LANCIUM, LLC by delivering to its Registered Agent, REGISTERED AGENTS, INC. by and
through its authorized agent, MARY MORRISON, at the address of: 5900 Balcones Drive, Suite 100, Austin, Travis
County, TX 78731, having first endorsed upon such copy of such process the date of delivery.

| certify that | am approved by the Judicial Branch Certification Commission, Misc. Docket No, 05-9122 under rule 103, 501,
and 501.2 of the TRCP to deliver citations and other notices from any District, County and Justice Courts in and for the State
of Texas. | am competent to make this oath; | am not less than 18 years of age, | am not a party to the above-referenced
cause, | have not been convicted of a felony or a crime of moral turpitude, and | am not interested in the outcome of the
above-referenced cause.

Subscribed and Sworn to before me on the 9th day of jee ae

September, 2024 by the affiant who is personally known Vivian Smith
to me. PSC-12617, Exp. 5/31/2026

Our Job Serial Number: THP-2024005685
Ref: 2530122
NOTARY PUBLIC

HELEN BROUSSARD
Notary ID #130429927

My Commission Expires
November 16, 2027

Copyright © 1992-2024 DreamBuilt Software, Inc. - Process Server's Toolbox V9.0a

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IN THE UNITED STATES DISTRICT
COURT FOR THE WESTERN DISTRICT

OF TEXAS WACO DIVISION
SBI CryPTo Co., LTD.,
Plaintiff,
Vv. Civil Action No.: 6:23-cv-252
WHINSTONE US, INC.,
Defendant. Jury Trial Demanded

PLAINTIFF’S NOTICE OF INTENT TO SERVICE SUBPOENA DUCES TECUM ON
NONPARTY LANCIUM, LLC

TO: Nonparty, LANCIUM, LLC, c/o Registered Agents, Inc., 5900 Balcones Drive, Suite
100, Austin, TX 78731; and

Defendant Whinstone US, Inc., by and through its counsel of record, Robert T. Slovak
and Brandon C. Marx, FOLEY & LARDNER LLP, 2021 McKinney Avenue, Suite 1600,
Dallas, TX 75201.

Plaintiff SBI Crypto Co., Ltd. hereby provides notice of its intent to serve the Subpoena
Duces Tecum attached hereto as Exhibit 1 on nonparty, Lancium, LLC (“Lancium”), for the
production of all documents, responsive to the document requests listed in Exhibit A of the
Subpoena, which are in its possession, custody or control as required by the Federal Rules of
Civil Procedure. The Subpoena will be deemed served on Lancium in 10 days.

Dated September 6, 2024. Respectfully submitted,

WINSTEAD PC

By: /s/ Joshua M. Sandler
Joshua M. Sandler

Texas Bar No. 24053680
jsandler@winstead.com
Cory Johnson

Texas Bar No. 24046162

cjohnson@winstead.com
Matthew Hines

Texas Bar No. 24120892

mhines@winstead.com
NOTICE OF INTENT TO SERVE SUBPOENA Page 1

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2728 N. Harwood Street, Suite 500
Dallas, Texas 75201

Telephone: (214) 745-5103
Facsimile: (214) 745-5390

ATTORNEYS FOR PLAINTIFF
SBI CRYPTO CO. LTD

CERTIFICATE OF SERVICE

I certify that, on September 6, 2024, a true and correct copy of the foregoing was served via
electronic mail to all counsel of record.

/s/ Cory C, Johnson
Cory C. Johnson

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EXHIBIT “1”
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

UNITED STATES DISTRICT COURT

for the
Western District of Texas [=]

SBI CRYPTO CO., LTD.
Plaintiff
Vv.

WHINSTONE US, INC.

Civil Action No, 8:23-ev-252

Nee? ee ee ee ee ee

Defendant

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: LANCIUM LLC, c/o Registered Agents Inc., 5900 Balcones Drive, Suite 100, Austin, Texas 78731.

(Name of person to whom this subpoena is directed)

I Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the

material: See Exhibit A attached hereto.

|Place: yy, - Date and Time: September 27, 2024, at 9:00
Winstead, PC eptember al am

| 2728 N. Harwood Street, Ste 500, Dallas, TX 75201 | *or other mutually agreed-upon date and time |

© Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

Place: - Date and Time:

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: September 6, 2024
CLERK OF COURT
OR Sohn Sekibr

Attorney's signature

Signature of C Terk or Deputy Clerk

The name, address, e-mail address, and telephone number of the attorney representing (name ofpartv) Plaintiff
SBI Crypto Co., Lid ee , who issues or requests this subpoena, are:

Joshua M. Sandler, 2728 N. Harwood Street, Suite 500, Dallas, Texas 75201, (214) 745-5400

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AQ 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No, 9:23-cv-252

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. RIGS) A FF] D AVIT

I received this subpoena for (name of individual and title, if anv) / PROOF / ATTACHED

on (date)

1 T served the subpoena by delivering a copy to the named person as follows:

on (dare) ; or

[ [ returned the subpoena unexecuted because:

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, | have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$
My fees are $ for travel and $ for services, for a total of $ 0.00
I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc.:
g g Pp
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

{c) Place of Compliance,

(1) For a Trial, Hearing, or Deposition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or a party's officer; or
(ii) is commanded to attend a trial and would not incur substantial
expense.

(2) For Other Discovery. A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected.

(d) Protecting a Person Subject to a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions, A party or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost earnings and reasonable attorney's fees—on a party or attorney who
fails to comply.

(2) Command to Produce Materials or Perinit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or tial.

(B) Objections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or atlorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to
producing clectronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the following rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party’s officer from
significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena,
(A) When Required. On timely motion, the court for the district where

compliance is required must quash or modify a subpoena that:

(i) fails to allow a rcasonabic time to comply:

(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(c);

(iti) requires disclosure of privileged or other protected matter, if no
exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) When Permitied. To protect a person subject to or affected by a
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research,
development, or commercial information; or

(ii) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert’s
study that was not requested by a party.

(C) Specifying Conditions as an Alternative. In the circumstances
described in Rule 45(d)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without unduc hardship; and

(ii) ensures that the subpoenaed person will be reasonably compensated.

(c) Duties in Responding to a Subpoena.

(1) Preducing Documents or Electronically Stored Information, These
procedures apply to producing documents or electronically stored
information:

(A) Documents. A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand.

(B) Form for Producing Electronically Stored Information Not Specified.
If a subpoena does not specify a form for producing electronically stored
information, the person responding must preducce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

{C) Electronically Stored Information Produced in Only One Form. The
person responding need not produce the same electronically stored
information in more than one form.

(D) inaccessible Electronically Stored Information. The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b)(2)(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Information Withheld. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) information Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved.

(g) Contempt.

The court for the district where compliance is required—and also, after a
motion is transterred, the issuing court—may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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EXHIBIT A
DOCUMENTS TO BE PRODUCED

I,
DEFINITIONS!

1, “SBIC” refers to Plaintiff SBI Crypto Co., Ltd. and includes its past and
present agents, legal representatives, non-legal representatives, personal representatives,
attorneys, employees, successors and assigns, and also includes individuals and entities
who act, have acted, purport to act, or have purported to act on behalf of SBIC.

2. “Whinstone” refers to Defendant Whinstone US, Inc. and each of its current
and past employees, officers, agents, directors, shareholders, members, managers,
supervisors, parents, subsidiaries, accountants, attorneys, partners, affiliates, or
representatives, and all other persons or entities acting on its behalf including but not
limited to Northern Data AG and Riot Blockchain, Inc.

3. “Lancium” refers to Lancium LLC and each of its current and past
employees, officers, agents, directors, shareholders, members, managers, supervisors,
parents, subsidiaries, accountants, attorneys, partners, affiliates, or representatives, and
all other persons or entities acting on its behalf.

4. “Priority Power” refers to Priority Power Management, Inc., and each of its
current and past employees, officers, agents, directors, shareholders, members, managers,
supervisors, parents, subsidiaries, accountants, attorneys, partners, affiliates, or
representatives, and all other persons or entities acting on its behalf.

5. “Pyote Facility” means Whinstone’s hosting facility located in Pyote, Texas.

6. “Rockdale Facility” means Whinstone’s hosting facility located in Rockdale,

' All defined terms retain their definitions even if they are not capitalized herein.

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Texas.
7. “Power Capacity” means the amount of accessible electricity at a given
facility, as limited by relevant power purchase agreements and facility, local, and regional

energy infrastructure.

8. “Permits” means any classification, permission, certification, or license
granted by a Third Party, including, but not limited to, utility services - including for
power/energy supply, zoning codes, property-use restrictions, or grades assigned

following any inspection.

9. “Permit Applications” means any applications for Permits.

10. “Equipment” means any item used for the purpose of mining
cryptocurrency, including but not limited to cryptocurrency miners, power supply units,
power meters, cables, switches, networking equipment, sensors, control systems,
management systems, etc.

11. “Customer” or “Customers” means any party or parties (other than
Whinstone) authorized, through agreement or otherwise, to store, host, or operate

Equipment in a Whinstone facility.

12. “Electronically Stored Information” means electronic information that is
stored in a medium from which it can be retrieved and examined, and includes, but is not
limited to, the following: voice-mail messages and files; e-mail messages and files; text
messages and files; deleted files; temporary files; system-history files; Internet- or web-
browser-generated information stored in textual, graphical, or audio format, including
history files, caches, and cookies; computer-activity logs; metadata; electronic files and

electronic storage contained in a computer system, network, or phone; and electronic files

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contained on magnetic, optical, or other storage media, including hard drives, flash
drives, DVDs, CDs, tapes, cartridges, floppy diskettes, smart cards, and integrated-circuit
cards (e.g., SIM cards).

13. “Communication” or “communications” means, without limitation, letters,
memoranda, notes, electronic mail, text messages, electronic instant messages,
statements, discussions, conversations, speeches, meetings, remarks, questions, answers,
panel discussions and symposia, whether written or oral. Such term also includes, without
limitation, both communications and statements which are face-to-face and those, which
are transmitted by other methods. The term “communication” or “communications”

specifically includes all Electronically Stored Information.

14. “Document” or “documents” means, without limitation, any tangible or
reproducible material, whether typed or handwritten, printed, recorded, or otherwise, or
any photographs, photostat, microfilm, or reproduction thereof, including, but not
limited to, originals (or copies where originals are unavailable) of all papers, records,
studies, analyses, notes, logs, data logs, comments, telephone messages, calendars,
diaries, telexes, telegrams, facsimiles, photographs, models, diagrams, plans,
specifications, charts, blueprints, drawings, minutes of meetings, correspondence,
memoranda, reports, ledgers, journals, contracts, agreements, bank statements,
statements of account, cancelled checks, inventories, receipts, invoices, work orders,
purchase orders, partnership agreements, articles of incorporation, corporate minutes,
resolutions, stock certificates, stock certificate transfer records, bylaws, and any other
corporate record, sales records, or receipts, tape recordings, video records, films, or other
audio or visual recordings, computer hard disks or other computer or software storage

devices of any type, and any other items similar to any of the foregoing, however

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denominated. This definition includes all handwritten, typewritten, printed, photocopied,
photographic or recorded matter, and includes pictures, photographs, diagrams, sound
recordings, films, tapes, and information stored in, or accessible through, computer or
other information storage or retrieval systems, together with the codes and/or
programming instructions and other materials necessary to understand and use such
systems and also includes but is not limited to any electronically stored data on magnetic
or optical storage media as an “active” file or files (readily readable by one or more
computer applications or forensics software); any “deleted” but recoverable electronic file
on said media; any electronic file fragments (files that have been deleted and partially
overwritten with new data); and slack (data fragments stored randomly from a random
access memory on a hard drive during the normal operation of a computer [RAM slack]
or residual data left on the hard drive after new data has overwritten some but not all of
previously stored data). The term “document” or “documents” specifically includes all
Electronically Stored Information.

As used in this Definition, a document is deemed to be in your “control” if you have
the right to secure the document or a copy thereof from another person, public, or private
entity having actual physical possession thereof. If any document requested was, but is
no longer, in your possession or subject to your control, state what disposition was made
of it, and the date or dates or approximate date or dates on which such disposition was
made.

15. “Archives” means a copy of data on stored and/or maintained on one or
more electronic files; magnetic, optical, or other storage media including hard drives,
flash drives, DVDs, CDs, tapes, cartridges, floppy diskettes, smart cards, and integrated-

circuit cards (e.g., SIM cards), desktop and laptop computers, handheld devices and cell

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phones, network hard disks, remote internet storage or the “cloud,” and iPods/iPads and

other MP3 players.

16. “Backup” means a copy of active data, intended for use in restoration of
data.

17. “Computer” includes but is not limited to network servers; cryptocurrency

miners; desktop, laptop, notebook, and netbook computers; employees’ home computers;
mainframes; iPads and other tablet computers; smartphones, handheld devices, and/or
cell phones; hard drives; removable media drives (i.e., floppy disks, tapes, CDs, DVDs);
optical disks; PDAs (personal digital assistants, such as PalmPilot, Casseopeia, HP
Jornada and other such handheld computing devices) of You and Your employees; and

digital cell phones, including smartphones, pagers, and handheld devices.

18. “Data” means any and all information stored on media that may be accessed
by a computer.
19. “Network” means a group of connected computers that allow people to

share information and equipment (e.g., local area network [LAN], wide area network
[WAN], crypto mining pool, metropolitan area network [MAN], storage area network
[SAN], peer-to-peer network, client-server network).

20. The word “or” is inclusive, referring to any one or more of the disjointed
words or phrases and the terms “any” and “all” include “each and every.”

21. “Person” means any individual, firm, partnership, joint venture,
association, corporation, or any other type of entity, public or private.

22. “Identify,” when used in connection with a Person, means to state such full
and complete information as is necessary to enable the requesting party to locate, contact,

and subpoena the Person.

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23. “Identify,” when used in connection with a document, means to provide
such information as to enable the requesting party to identify, locate, and subpoena for
production of the document. In the alternative you may produce a copy of the document
and refer to it by exhibit or document number for purposes of identification and reference.
“Explain” or “state” mean to specify in detail and includes the recitation of all relevant
dates and places and the responsibility to identify, as defined above, all persons who have
information which relates to the event, occurrence, condition, legal or factual contention,
or other matter that is subject to the request.

24. “Address” means street address; suite or apartment number, if applicable,
city; state; and zip code.

25. “Relating to” means embodying, pertaining, concerning, involving,
constituting commenting upon, comprising, reflecting, discussing, evidencing,
mentioning, referring to, consisting of, responding to, supporting or controverting a
contention, or having any logical or factual connection whatever with the subject matter
in question.

26. All other terms not explicitly defined herein are to be construed in
accordance with their plain and ordinary meanings in the English language and the
context in which those terms are used.

II,
INSTRUCTIONS

In responding to any of the requests hereinafter set forth, you are instructed as
follows:
1. All information which is not privileged and which is in your possession or

the possession of your attorney, investigators, agents, employees, or other representatives

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is to be divulged.

2. To the extent you find a discovery request objectionable, state with
specificity the objection and respond to the remaining part of the request, which you do
not find objectionable. To the extent you refuse to produce responsive documents,
identify those documents in your written response to the relevant request in accordance
with the definitions above, and all reasons for your nonproduction. Include in your formal
response where the documents were found, how they were organized, and how they will
be produced for copying or inspection. To the extent the documents are reorganized or

rearranged, state with particularity how they were originally kept and the reasons for the

reorganization.
3. All requests herein refer to the time period from January 1, 2019 to January
1, 2023.

4. All documents shall be produced that respond to any part or clause of any
paragraph of this request. If any document request cannot be produced in full, produce
such document to the extent possible and indicate specifically in your response to this
request your inability to produce the remainder and sufficient information concerning the
unproduced document or portion thereof so that the Court and counsel can determine if
a motion to compel is appropriate and can determine if in camera inspection is needed to
test the validity of any claim, privilege or other reason for non-production.

5. File folders with tabs or labels identifying documents called for shall be
produced intact with such documents.

6. Selection of documents from the files and other sources shall be performed
in such a manner as to ensure that the source of each document may be determined.

7. Documents attached to each other should not be separated unless sufficient

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records are kept to permit reconstruction of such grouping.

8. If any document requested is objected to or withheld, in whole or in part,
pursuant to a claim of privilege, provide the following information with respect to each
such document:

a. date;

b. author(s), and their title or position;

c. addressee(s), and their title or position;

d. person(s) receiving a copy and their title or position;

e. general description of subject matter (e.g., opinion of counsel on
merits of claims);

f. the nature of the privilege claimed (e.g., attorney/client, work

product, etc.);

g. the factual and legal basis for the claim of such privilege (e.g.,
communication between attorney for corporation and outside
counsel relating to acquisition of legal advice);

h. the identity of each person who was present when the documents was
prepared and who has seen the document; and

i. the identity of every other document which refers to or describes the
contents of such document.

9. You are required to file a written response stating with respect to each
request that an inspection and copying will be permitted as requested unless the request
is objected to, in which event the reason for the objection shall be stated.

10. You are requested to produce the documents responsive to these requests
as they are kept in the usual course of business, or to organize and label them to
correspond with the categories specified below. Electronic or magnetic data should be
produced in its native or original format included along with any associated metadata

reflecting the content, quality, condition, history and other characteristics of the

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underlying data. By way of example, email may be produced in .pst or .nsf format.

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III.
DOCUMENTS REQUESTED

Please produce the following:

1.

10.

All agreements between Whinstone and Lancium related to the Rockdale
Facility.

All agreements between Whinstone and Northern Data related to the
Rockdale Facility.

All agreements between Whinstone and Riot Blockchain related to the
Rockdale Facility.

All communications internal to Lancium or between Lancium and any party
regarding power at the Rockdale Facility, including but not limited to the
planning, negotiating, securing, establishing, supplying, metering and
monitoring of power and related rates and costs.

All documents and communications related to Power Capacity at the
Rockdale Facility, including, but not limited to, power purchase
agreements and other documents describing power purchase amounts,
installation dates for step-down transformers, and when certain amounts
of power were available to Whinstone and its Customers at the Rockdale
Facility.

All documents and communications between Lancium and Whinstone,
Northern Data, and/or Riot Block Chain related to any power service
interruptions or failures at the Rockdale Facility.

All documents and communications related to the amounts of power made
available to SBIC or any other Customer at the Rockdale Facility and the
dates of such availability.

All documents and communications related to the unpacking,
configuration, positioning, installation, powerup, commissioning, test and
addition to the miner pool of SBIC’s Equipment, including documents
containing the dates of installation and activation of each miner.

All documents and communications related to any hardware, software or
firmware modifications, software updates or configuration changes
performed on SBIC’s Equipment before, during or after their installation,
and the reasons for such modifications.

All documents and communications related to the amounts of power
consumed by SBIC’s Equipment at the Rockdale Facility, including, but
not limited to, documents containing data related to the power consumed
by SBIC’s Equipment, and documents related to the monitoring, tracking,

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and billing of power consumed by SBIC’s Equipment.

All communications between Lancium and Whinstone related to the
amounts of power consumed by SBIC’s Equipment at the Rockdale
Facility.

All documents related to the amounts of power consumed by Customers’
Equipment at the Rockdale Facility, including, but not limited to,
documents related to Whinstone’s efforts to monitor, track, and bill for
power consumed by Customers’ Equipment.

All communications and documents regarding the condition of SBIC’s
Equipment at the Rockdale Facility.

All communications and documents related to the hardware failure rates
of SBIC’s Equipment at the Rockdale facility, Whinstone’s repair efforts on
failed miners, and uptime statistics.

All documents and communications related to the hash rate of SBIC’s
Equipment while in use at the Rockdale Facility, including documents
containing data related to the daily, weekly, or monthly hash rate of SBIC’s
Equipment, both for individual miners and collectively for the pool of
miners.

All documents and communications regarding any issues or problems
integrating or powering on SBIC’s Equipment at the Rockdale Facility.

All communications and documents regarding the environmental
conditions of the Rockdale Facility.

All communications and documents related to the capabilities of the
Rockdale facility to perform demand response, load response or offer any
surplus energy into the real-time energy marketplace in Texas, including
the specifics of events when Whinstone energy allocations were sold back
to the grid, and any impacts these events could have on the SBIC miners.

Any communications or documents related to the power efficiency of the
Whinstone Rockdale datacenter, including measured or estimated Power
Usage Effectiveness (PUE) or hashrate per Watt of energy consumed.

If not already provided in response to another request herein, all
documents evidencing the performance of SBIC’s Equipment at the
Rockdale Facility, including data logs and telemetry data.

If not already provided in response to another request herein, all
documents evidencing the consulting and development services that
Lancium provided to Whinstone.

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS

WACO DIVISION
SBI Crypto Co., LTpD.,
Plaintiff,
Vv. Civil Action No.: 6:23-cv-252
WHINSTONE US, INC.,
Defendant. Jury Trial Demanded

BUSINESS RECORDS AFFIDAVIT FOR THE CUSTODIAN OF RECORDS OF
LANCIUM, LLC

Before me, the undersigned authority, personally appeared

who being by and duly sworm, deposed as follows:

My name is . Lam of sound mind, am capable of making

this affidavit, am personally acquainted with the facts herein, and state that they are true and

correct:

I am a custodian of records for (“ ”). Attached hereto ares pages
of records from that are kept in the regular course of business, and it was in the regular
course of business of for any employee or representative of with knowledge

of the act or event to make the records or to transmit information thereof to the inclined in such
records; and the records were made at or near the time of the act or event or reasonably soon

thereafter. The records attached hereto are exact duplicates of the original.

Custodian of Records/Affiant

STATE OF §
§
COUNTY OF §

SUBSCRIBED AND SWORN BEFORE ME, the undersigned authority on this the

day of , 2024.

Notary Public in and for the State of Texas

BUSINESS RECORDS AFFIDAVIT - SOLO PAGE
